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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

STATE OF CONNECTICUT

                                                             NO.: 18MJ I1S_j~

COUNTY OF HARTFORD                                           December 6, 2018

                    AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

              I, Brian Meehan, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives, being duly sworn, deposes and states:

                                       INTRODUCTION

       1.      I am an investigative or law enforcement officer of the United States within the

meaning of Section 251 0(7) of Title 18, United States Code, that is, an officer of the United

States who is empowered by law to conduct investigations of and to make arrests for offenses

enumerated in Section 2516 of Title 18 of the United Sates Code.

       2.      I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), United States Department of Justice and have been so employed since 2005.

I am currently assigned to the ATF Boston Field Division, Springfield, Massachusetts Field

Office and charged with investigations of the Federal firearms, arson, explosives, alcohol and

tobacco diversion laws.

       3.      I have successfully completed the Criminal Investigations Training Program and

the ATF Special Agent Basic Training (SABT) at the Federal Law Enforcement Training Center

in Glynco, GA. During the SABT program, I learned how to conduct investigations related to

violations of federal firearms, arson, explosives, alcohol and tobacco diversion laws. Previous to

this employment, I was employed as a Police Officer in the City ofNashua, New Hampshire for

approximately three years.


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        4.       In my capacity as an ATF Special Agent, I have personally investigated or

participated in the investigation of over one hundred cases involving illegal firearms possession

and use, firearms trafficking, arson, explosives, tobacco diversion, illegal narcotics activity, and

violent gang activity. I have received advanced training in how to conduct complex firearms

trafficking investigations and have been certified as an Interstate Nexus Expert.

       5.        As a law enforcement officer, I direct and coordinate investigative efforts into the

investigation and targeting of drug trafficking organizations' within the United States to include

the District of Connecticut, for violations of Title 21, United States Code, Section 846

(Conspiracy to Possess with Intent to Distribute and Manufacture Controlled Substances); Title

21, United States Code, Section 841(a)(l) (Possession with Intent to Distribute, Distribution and

Manufacture of Controlled Substances); Title 18, United States Code, Section 922(g)(l)

(Unlawful Possession of a Firearm by a Convicted Felon); and Title 18, United States Code,

Section 924(c) (Use of a Firearm in Furtherance of a Drug Trafficking Crime). In the course of

my duties, I have prepared affidavits in support of applications for search warrants and arrest

warrants and have executed numerous search and arrest warrants.

                                              REQUEST

       6.        This Affidavit is submitted for the limited purpose of establishing probable cause

for the issuance of a search warrant for the following:

      a. two (2) buccal DNA swab samples from MIGUEL BETANCOURT (DOB XX:-XX-

             1968) who is believed to work in Connecticut and reside in Massachusetts.

       7.        The information supplied in this affidavit is based in part upon an investigation into

this matter carried out by law enforcement agents and officers of the ATF, the Internal Revenue

Service, and other law enforcement agents. Because this affidavit is being submitted for the



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limited purpose of securing search warrants for two (2) buccal DNA swab samples, I have not

included each and every fact known to me concerning this investigation.

                                       PROBABLE CAUSE

       8.        On March 21,2018, law enforcement officers executed a federal search warrant at

the business of Miguel BETANCOURT, located at State Line Auto Sales office, 1652 Berlin

Turnpike, Wethersfield, Connecticut.      Recovered during the search from a desk drawer was a

Ruger, Model P345, .45 caliber pistol with serial number 664-11588, two pistol magazines and

ammunition. Directly behind the desk was a wall mounted clear plastic vertical document filing

container or "inbox." Attached to and inside the box were at least four stickers with "Miguel"

typed on them.

       9.        During the search warrant, Thomas Betancourt, BETANCOURT's brother and

State Line Auto Sales employee, informed agents that the desk in question was MIGUEL

BETANCOURT's.

       10.       In an undercover operation on June 27, 2017, BETANCOURT was recorded

conducting business from this desk.

       11.       On March 27, 2018, State Line Auto Sale's employee Glicelia Rojas stated that the

State Line Auto Sales office has two desks: the desk closest to the main entrance which was used

by BETANCOURT's wife, AnaPabellon, and the desk farthest from the entrance (where the pistol

was found), which was BETANCOURT's.

       12.       BETANCOURT is a convicted felon. He has been convicted of Assault with a

Dangerous Weapon, Massachusetts General Law (MGL) Chapter 265 Section 15B, on February

10, 1997; Malicious Destruction of Property over $250, MGL Chapter 266 Section 127, on

September 27, 1995; and Assault and Battery, MGL Chapter 265 Section 13A, on September 27,



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1995. Each of these crimes carries a possible punishment of greater than one year incarceration.

        13.    On November 15, 2018, the State of Connecticut Laboratory issued a report stating

that DNA profiles had been detected in the swab taken from the firearm recovered from

BETANCOURT's desk described above.

       14.     Based on the detection of DNA profiles in the swab ofthe firearm recovered from

BETANCOURT's desk, I request the instant warrant to obtain and compare BETANCOURT's

DNA to the DNA profile identified by the State of Connecticut Laboratory for evidence of

unlawful possession of a firearm by a convicted felon in violation of 18 U.S.C. § 922(g).

                                          EXECUTION

       15.     The DNA samples sought herein will be collected by buccal swabbing. This

method involves'taking a sterile swab (similar to a Q-Tip) and gently scrubbing the inside right

cheek, then the inside left cheek, for approximately five to 10 seconds. Two samples are requested

in the event that one of the samples becomes contaminated or otherwise cannot be tested. The

samples seized will be submitted to a forensic laboratory and will be subject to examination, testing

and analysis, and will be compared to the DNA material obtained from the physical evidence

seized during this investigation for exclusion and comparison purposes.

       16.     I understand that DNA profiles or partial DNA profiles of more than one person

may be located on an object when more than one person has handled an item.




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                                        CONCLUSION

       17.    Based upon the foregoing, there is probable cause to believe, and I do believe, that,

obtaining buccal swabbing sample from the inside of BETANCOURT's mouth for Serology and

Deoxyribonucleic Acid analysis may provide evidence of a violation of Title 18, United States

Code, Section 922(g)(l) (Unlawful Possession of a Firearm by a Convicted Felon) (the "Target

Offense").




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                                                    BRIAN MEEHAN, ATF SA
Subs ribed and .worn to bef rc me
th
        /s/
ROBERT A. RICHARDSON
UNITED STATES MAGISTRATE JUDGE




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